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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF EASTERN TEXAS
                             SHERMAN DIVISION


KARY LYMAN,                                    Case No. 4:19-cv-00466-SDJ-KPJ
              Plaintiff,                       STIPULATION OF DISMISSAL OF
                                               DEFENDANT KOHLS
       v.                                      DEPARTMENT STORES, INC.,
                                               WITH PREJUDICE
KOHLS DEPARTMENT STORES, INC.,
            Defendant.

       Pursuant to Federal Rule of Civil Procedure 41, Plaintiff Kary Lyman and

Defendant Kohls Department Stores, Inc. (“Kohls”), by and through undersigned counsel,

hereby stipulate that all claims against Kohls, shall be dismissed from this action with

prejudice. The parties shall bear their own attorneys’ fees and costs.

       Respectfully submitted this 31st day of July 2020,

  By:/s/Beth K. Findsen .                   By:/s/ William C. Petit
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                                 CERTIFICATE OF SERVICE


       I hereby certify that on July 31, 2020, I electronically filed the foregoing with the

Clerk of the Court using the ECF system, which will send notice of such filing to all

attorneys of record in this matter.




               /s/Trisha Scacchitti




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